    Case 1:01-cv-12257-PBS Document 6528-11 Filed 09/22/09 Page 1 of 6




                               Exhibit 10



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
        Case 1:01-cv-12257-PBS Document 6528-11 Filed 09/22/09 Page 2 of 6

Hillblom, Douglas B.                                      September 23, 2008
                                 Sacramento, CA

                                                                               Page 1
                    UNITED STATES DISTRICT COURT

                     DISTRICT OF MASSACHUSETTS

    IN RE PHARMACEUTICAL INDUSTRY

    AVERAGE WHOLESALE PRICE

    LITIGATION

    ___________________________/

    THIS DOCUMENT RELATES TO         MDL No. 1456

    State of California, ex rel.     Civil Action:

    Ven-A-Care v. Abbott             01-12258-PBS

    Laboratories, Inc., et al.

    ____________________________/



                               --oOo--

                    TUESDAY, SEPTEMBER 23, 2008

                               --oOo--

                      VIDEOTAPED DEPOSITION OF

                        DOUGLAS B. HILLBLOM

                               --oOo--



    Reported By:   CAROL NYGARD DROBNY, CSR No. 4018

                   Registered Merit Reporter




                   Henderson Legal Services, Inc.
202-220-4158                                     www.hendersonlegalservices.com

                                                                   59a7f9f9-30c2-4b26-a88f-b90f6ae9a028
        Case 1:01-cv-12257-PBS Document 6528-11 Filed 09/22/09 Page 3 of 6

Hillblom, Douglas B.                                    September 23, 2008
                              Sacramento, CA

                                                                               Page 2
  1   APPEARANCES:
  2                 For the STATE OF CALIFORNIA:
  3                       BUREAU OF MEDI-CAL FRAUD & ELDER ABUSE
  4                       BY:    NICHOLAS N. PAUL
  5                              Supervising Deputy Attorney
  6                              General
  7                       Civil Prosecutions Unit
  8                       P.O. Box 85266
  9                       110 West A Street, #1100
10                        San Diego, California            95186
11                        619.688.6099
12                        nicholas.paul@doj.ca.gov
13                                   and
14                        BUREAU OF MEDI-CAL FRAUD & ELDER ABUSE
15                        BY:    THOMAS A. TEMMERMAN
16                               Senior Assistant Attorney GGeneral
17                        Chief Prosecutor
18                        1425 River Park Drive, Suite 300
19                        Sacramento, California             95815
20                        916.274.2942
21                        tom.temmerman@doj.ca.gov
22




                 Henderson Legal Services, Inc.
202-220-4158                               www.hendersonlegalservices.com

                                                                   59a7f9f9-30c2-4b26-a88f-b90f6ae9a028
        Case 1:01-cv-12257-PBS Document 6528-11 Filed 09/22/09 Page 4 of 6

Hillblom, Douglas B.                                    September 23, 2008
                              Sacramento, CA

                                                                              Page 93
  1
      discussions where the concept of using invoices as
  2
      a basis for reimbursement for pharmacy dispensed
  3
      prescription drugs was the topic of conversation?
  4
               A.     Not what I would call a "discussion" --
  5
      a flippant remark maybe.
  6
               Q.     By whom?
  7
               A.     I can't recall.
  8
               Q.     Did you ever make that kind of a
  9
      flippant remark?
10
               A.     Not that I recall.
11
               Q.     Recall ever considering why it wasn't --
12
      why wasn't it possible to reimburse prescription
13
      drugs on the same basis as blood clotting factors,
14
      for example?
15
                      MR. PAUL:      Objection to form.
16
                      THE WITNESS:        Pharmacy reimbursement is a
17
      multi-component item.
18
                      Cost of the drug product is only one
19
      component.
20
      BY MR. BUEKER:
21
               Q.     The other component is dispensing fee;
22
      correct?

                    Henderson Legal Services, Inc.
202-220-4158                               www.hendersonlegalservices.com

                                                                   59a7f9f9-30c2-4b26-a88f-b90f6ae9a028
        Case 1:01-cv-12257-PBS Document 6528-11 Filed 09/22/09 Page 5 of 6

Hillblom, Douglas B.                                    September 23, 2008
                              Sacramento, CA

                                                                              Page 94
  1
               A.     Correct.
  2
               Q.     And that's a rate that was set
  3
      independently of the ingredient cost reimbursement
  4
      rate; is that fair?
  5
               A.     Yes.
  6
               Q.     And together the two had to total
  7
      something that the Department considered
  8
      reasonable; right?
  9
               A.     Yes.
10
               Q.     But in terms of the actual calculation
11
      of the two components, the calculation of the two
12
      components, that portion of it was done separately?
13
               A.     Yes.
14
               Q.     So it would have been possible to
15
      calculate the ingredient cost rates in a -- in a
16
      different way?
17
                      MR. PAUL:      Objection to form.
18
                      THE WITNESS:        Could you please clarify
19
      what you mean by "different form."
20
      BY MR. BUEKER:
21
               Q.     Yeah.
22
                      It would have been possible to calculate

                    Henderson Legal Services, Inc.
202-220-4158                               www.hendersonlegalservices.com

                                                                   59a7f9f9-30c2-4b26-a88f-b90f6ae9a028
        Case 1:01-cv-12257-PBS Document 6528-11 Filed 09/22/09 Page 6 of 6

Hillblom, Douglas B.                                    September 23, 2008
                              Sacramento, CA

                                                                            Page 348
  1
               Q.     To your knowledge did the -- during your
  2
      time at the Department of Health Services did the
  3
      Department of Health Services have an expectation
  4
      that drug manufacturers would report the AWPs to
  5
      First DataBank honestly and truthfully?
  6
                      MR. BUEKER:       Objection to form.
  7
                      MS. BERWANGER:         Objection to form.
  8
                      MR. ROBBEN:       I thought he wasn't a
  9
      30(b)(6) witness.
10
                      THE WITNESS:        My understanding is that
11
      the expectation of the Department was that the --
12
      the data supplied was the appropriate data, that it
13
      was accurate.
14
      BY MR. PAUL:
15
               Q.     To your knowledge has any pharmaceutical
16
      manufacturer ever sent -- during your tenure at DHS
17
      ever sent DHS written information stating what the
18
      manufacturer's AWP was based on?
19
               A.     No.
20
               Q.     So that would -- your answer would
21
      obviously apply to Mylan, Sandoz, Geneva, Dey,
22
      Warrick, and Schering, since they're drug

                    Henderson Legal Services, Inc.
202-220-4158                               www.hendersonlegalservices.com

                                                                   59a7f9f9-30c2-4b26-a88f-b90f6ae9a028
